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            Exhibit 1
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World Assembly of Muslim Youth
     Member of the UN NGO's


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 Building 1079 King Fahd Road - Muhammadiah Dist.                                               '--'~'~-~..!.I.UIJ:!__.J.,-1 •V\~I iJJ
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